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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK                          ATTACHMENT TO JUDGMENT
– – – – – – – – – – – – – – – –X

UNITED STATES OF AMERICA,                              FINAL ORDER OF FORFEITURE

       - against -                                     22-CR-473 (DLI)

KARA STERNQUIST,
     also known as “Cara Sandiego”
     and “Kara Withersea,”

                         Defendant.

– – – – – – – – – – – – – – – –X
            WHEREAS, on or about December 20, 2023, Kara Sternquist, also known as

“Cara Sandiego” and “Kara Withersea” (the “defendant”), entered a plea of guilty to the

Count Three of the above-captioned Indictment, charging a violation of 18 U.S.C. §

922(g)(1);

               WHEREAS, on March 13, 2024, this Court entered a Preliminary Order of

Forfeiture (“Preliminary Order”) pursuant to Rule 32.2 of the Federal Rules of Criminal

Procedure, finding that all right, title and interest in one black 9 millimeter pistol seized on

or about September 15, 2022, in New York, New York (the “Subject Firearm”), is forfeitable

to the United States, pursuant to 18 U.S.C. § 924(d)(1) and 28 U.S.C.§ 2461(c), as any

firearm or ammunition involved in or used in the defendant’s knowing violation of 18 U.S.C.

§ 922(g)(1), and/or a substitute asset, pursuant to 21 U.S.C. § 853(p), (Docket Entry No. 95);

               WHEREAS, legal notice of the forfeiture was published in this district on the

official government website, www.forfeiture.gov, for thirty (30) consecutive days beginning

April 16, 2024, through and including May 15, 2024 (Docket Entry No. 106); and
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               WHEREAS, no third party has filed with the Court any petition or claim in

connection with the Subject Firearm and the time to do so under 21 U.S.C. § 853(n)(2) has

expired.

               NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND

DECREED, that pursuant to 18 U.S.C. § 924(d)(1), 21 U.S.C. § 853(p), and 28 U.S.C.

§ 2461(c), and the Preliminary Order, all right, title, and interest in the Subject Firearm is

hereby condemned, forfeited, and vested in the United States of America.

               IT IS FURTHER ORDERED that the Alcohol, Tobacco, & Firearms, and

Explosives or its duly authorized agents and/or contractors be, and hereby are, directed to

dispose of the Subject Firearm in accordance with all applicable laws and regulations.

               IT IS FURTHER ORDERED that the United States District Court for the

Eastern District of New York shall retain jurisdiction over this case for the purposes of

enforcing the Preliminary Order and this Final Order of Forfeiture and any supplemental

orders of forfeiture as may be necessary.




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              IT IS FURTHER ORDERED that the Clerk of Court shall enter final judgment

of forfeiture to the United States in accordance with the terms of this Final Order of

Forfeiture and the Preliminary Order, and the Final Order of Forfeiture shall be made part of

the defendant’s sentence and included in the judgment of conviction.

Dated: Brooklyn, New York
       ________________________,
       June 26                   2024

                                            SO ORDERED:


                                            ____________________________
                                            ______________________________________
                                            HONORABLE DORA L. IRIZAR
                                                                 IRIZARRY
                                            UNITED STATES DISTRICT JUDGE
                                            EASTERN DISTRICT OF NEW YORK




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